     Case 3:13-cv-03102-TLB Document 9        Filed 12/18/13 Page 1 of 9 PageID #: 29




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF ARKANSAS

MARTIN POT and                                   )
SECOND AMENDMENT FOUNDATION,                     )
                                                 )
                     Plaintiffs,                 )
                                                 )
v.                                               )     Case No. 3:13-CV-3102-JLH
                                                 )
COLONEL STAN WITT, in his official               )
capacity as Director of the Arkansas State       )
Police,                                          )
                                                 )
                     Defendants.                 )

                  PLAINTIFFS’ RESPONSE TO DEFENDANT’S
                  MOTION TO DISMISS OR TRANSFER VENUE

        COME NOW the Plaintiffs, MARTIN POT and SECOND AMENDMENT

FOUNDATION, INC. and submit their Response to the Defendant COLONEL

STAN WITT’s Motion to Dismiss or Transfer Venue.

                                   INTRODUCTION

        Venue is proper in this District because Plaintiff resides in this District,

applied for a concealed carry permit from this District, was denied same in this

District, and therefore a substantial part of the events giving rise to Plaintiffs’

cause of action occurred in this District. Therefore, even though this District is not

the only possible venue for this matter to have been brought, venue in this District

is nonetheless proper.
  Case 3:13-cv-03102-TLB Document 9          Filed 12/18/13 Page 2 of 9 PageID #: 30




                              STATEMENT OF FACTS

      1.      Plaintiff Pot is 52 years old, and a citizen of the Netherlands residing

with his family in Eureka Springs, Arkansas, and who has done so since 1986. Pot

received his permanent resident visa (a/k/a “green card”) in 1984. Prior to that Pot

was on a tourist visa, which he had briefly until he married his wife in New

Orleans, Louisiana, who was then a Masters student at Tulane. Pot has been self-

employed in the area of construction, woodworking and restoration in Eureka

Springs for twenty years. In sum, he has many solid connections to the State of

Arkansas and the Eureka Springs area, including his wife and the two of his three

children who still reside in the area (See par. 8 of Plaintiffs’ Complaint).

      2.      Pot is allowed to possess a firearm in Arkansas only in his house, on

his property, or under certain circumstances while on a “journey,” but is prohibited

by A.C.A. § 5-73-309(1) from obtaining a concealed carry permit, and thus carrying

a handgun in a concealed manner for self-defense (See par. 9 of Plaintiffs’

Complaint).

      3.      Pot would carry a loaded and functional concealed handgun in public

for self-defense, but he refrains from doing so because he fears arrest, prosecution,

fine, and imprisonment as he understands it is unlawful for a non-citizen to carry a

concealed handgun in Arkansas (See par. 10 of Plaintiffs’ Complaint).

      4.      In August, 2013, Pot was notified by the Arkansas State Police that his

then-current and valid concealed carry permit was not being renewed because Pot is

not a citizen. This is despite the fact that for years Pot lawfully possessed, and



                                           2
  Case 3:13-cv-03102-TLB Document 9          Filed 12/18/13 Page 3 of 9 PageID #: 31




renewed, a concealed carry permit without incident until A.C.A. § 5-73-309(1) took

effect. Therefore, Pot’s concealed carry permit application renewal was denied (See

par. 11 of Plaintiffs’ Complaint).

      5.     Defendant Witt is the Director of the Arkansas State Police. In Witt’s

official capacity, he is responsible for enforcing certain of Arkansas’s laws, customs,

practices, and policies, specifically including A.C.A. § 5-73-309(1). In that capacity,

Witt is presently enforcing the laws, customs, practices and policies complained of

in this action. Specifically, Witt is the authority charged with processing and

issuing concealed carry permit applications in Arkansas. He is sued in his official

capacity (See par. 15 of Plaintiffs’ Complaint).

                                     ARGUMENT

POT applied for a permit renewal, was denied same, and is being injured
by and unconstitutional, discriminatory law, all in this judicial district.

      Plaintiffs mistakenly asserted that the State Capital is in this judicial

District, when of course Little Rock and Pulaski County are in the Eastern District

of Arkansas. Were the location of the State Capital the only basis for venue,

Defendant’s Motion would be well taken. However, it is not the basis for venue, and

while the Eastern District is also a proper venue, this District is also proper because

the events of the cause of action, and POT’s injury, occurred in this District.

      Per 28 U.S.C. § 1391(b)(2), venue is proper “a judicial district in which a

substantial part of the events or omissions giving rise to the claim occurred . . . .”

      Defendant mistakenly asserts that venue is improper because the

unconstitutional law was enacted in the Eastern District and allegedly enforced in

                                            3
  Case 3:13-cv-03102-TLB Document 9        Filed 12/18/13 Page 4 of 9 PageID #: 32




the Eastern District, but the Defendant is enforcing the law against Plaintiffs

wherever they live, and in POT’s case that is in Eureka Springs in this judicial

District.

       This case is exactly on point with McClure v. Manchin, 301 F.Supp.2d 564

(N.D.WV 2003). In McClure, a gubernatorial candidate sued the West Virginia

Secretary of State challenging the constitutionality of the procedures for appearing

on the general election ballot. Since the Secretary of State’s office was in West

Virginia’s Southern District, and the Secretary claimed the events giving rise to the

claim would occur in the Southern District, venue was improper in the Northern

District. Id. at 568-69. The Court held that argument was “baseless,” and stated:

             All of the events allegedly causing harm to the plaintiffs
             have occurred in the Northern District, “where operation
             of [West Virginia Code section] 3-5-23 has required
             [McClure] to inform voters of the purported primary vote
             forfeiture and required his canvassers to obtain
             credentials.” (Pl. Memo. Supp. Prelim. Inj. at 17).
             Although a civil action could be brought in the Southern
             District under § 1391(b)(1) --and perhaps § 1391(b)(2)
             also--proper venues are not mutually exclusive. Indeed,
             venue is subject to the choice of the plaintiffs, not
             the defendant. Thus, under § 1391(b)(2), venue is
             appropriate in the Northern District because a
             substantial part of the events giving rise to the claim
             occurred here.

Id. at 569 (emphasis added).

       Just like in McClure, while the Defendant’s office may be in the Eastern

District, Plaintiff POT is being injured by the State’s law here in the Western

District. Venue would have been proper in either district, but Plaintiffs have

selected this one.

                                          4
  Case 3:13-cv-03102-TLB Document 9          Filed 12/18/13 Page 5 of 9 PageID #: 33




      In Kalman v. Cortes, 646 F.Supp.2d 738 (E.D.PA 2009), the plaintiff, a

filmmaker, claimed his First Amendment rights under the Establishment Clause

and the Free Speech Clause were violated when a state law prohibited “blasphemy”

in a corporate name, and plaintiff was unable to use the word “hell” in a corporation

he wanted to form. Instead of “I Choose Hell Productions,” he incorporated as

“I.C.H. Productions, LLC.” He sued the Secretary of the Commonwealth of

Pennsylvania, in his official capacity of administering the Department of State, for

the denial of his original application, and the operation of his business under the

eventual name.” Suit was filed in the Eastern District of Pennsylvania. The

defendant moved to transfer venue to the Middle District of Pennsylvania, arguing

all the events giving rise to Plaintiff's suit occurred in Harrisburg, which is in the

Middle District, including the decision to reject plaintiff's original application, and

the “develop[ment], implement[ation] and enforce[ment]” of the challenged policy

from Harrisburg. The defendant argued that when a statewide policy is

challenged, venue is proper only in the district where it was written, not the district

in which its impact is felt. As such, the alleged effect that § 1303 had on plaintiff’s

ability to exercise his freedom of expression in this district is insufficient compared

to the numerous “actions, decisions, policies and practices” that occurred in

Harrisburg. Furthermore, the Defendant argued its convenience is considered in

choosing venue, not the Plaintiff’s. Id. at 740 (internal citations omitted).

      The Court in Kalman rejected all these arguments and denied the motion to

transfer venue. The Court held:



                                            5
  Case 3:13-cv-03102-TLB Document 9         Filed 12/18/13 Page 6 of 9 PageID #: 34




             It is important, perhaps most important, to consider the
             nature of the litigation in determining whether
             “substantial" events or omissions took place in a
             particular district. The nature of the instant case is a
             first amendment challenge, and the curtailment of the
             plaintiff's asserted right took place in this district,
             without doubt. A plaintiff suing because his freedom of
             expression has been unjustifiably restricted by a state
             statute suffers harm only where the speech would have
             taken place, as opposed to the district in which the
             statute was written and the decision to restrict this
             plaintiff's speech was made. The suppression itself is a
             more “substantial” event than the decision to
             suppress the speech, and is the most important
             event in the origin of this suit. Plaintiff’s inability to
             exercise his freedom of expression by doing business
             under the name he desires is clearly "substantial.”

             The Court also notes that in the event if Plaintiff had
             decided to violate the statute in continuing business with
             the name that had been rejected, such an enforcement
             action would clearly have to be brought in this district.

Id. at 742 (emphasis added).

      This case is also exactly in line with Kalman. Plaintiff POT is alleging his

Second and Fourteenth Amendment rights are being violated in this district, which

is more substantial for venue purposes than the district where the decision to

violate his rights allegedly occurred. Also, just as noted in Kalman, if POT decided

to carry a concealed firearm in violation of the law, no doubt when caught he would

be prosecuted for the violation in this district. While Defendant argues the Eastern

District is a proper venue, he does not refute that this District is also a proper

venue. And while both the Western and Eastern Districts would have been proper

venues, Plaintiffs’ choice should be given deference.




                                           6
  Case 3:13-cv-03102-TLB Document 9        Filed 12/18/13 Page 7 of 9 PageID #: 35




                                   CONCLUSION

      The Court should deny Defendant’s Motion. Venue is proper in this district

because the impact of Defendant’s unconstitutional statute is suffered in this

district. POT resides in this District, attempted to obtain his concealed carry

permit and was denied while in this District, and thus the curtailment of POT’s

rights are taking place in this district. These are more “substantial” events for

venue purposes than the fact the State Capitol and Defendant’s office are in the

Eastern District. Further, while either the Western or Eastern District would have

been proper, deference should be paid to the Plaintiffs’ choice of venue.




                                          7
  Case 3:13-cv-03102-TLB Document 9           Filed 12/18/13 Page 8 of 9 PageID #: 36




      WHEREFORE, the Plaintiffs, MARTIN POT and SECOND AMENDMENT

FOUNDATION, INC., respectfully request this Honorable Court to deny

Defendant’s Motion in its entirety, and in the alternative, to transfer this matter to

the Eastern District of Arkansas rather than dismiss it. Plaintiffs also request any

and all relief deemed just and proper, including leave to file an Amended

Complaint, should the Court deem it necessary.


Dated: December 18, 2013                Respectfully submitted,

                                        By:            /s/ David G. Sigale
                                                       David G. Sigale


David G. Sigale, Esq. (Atty. ID# 6238103 (IL))
LAW FIRM OF DAVID G. SIGALE, P.C.
739 Roosevelt Road, Suite 304
Glen Ellyn, IL 60137
Tel: 630.452.4547
Fax: 630.596.4445
dsigale@sigalelaw.com

Attorney for Plaintiffs




                                          8
  Case 3:13-cv-03102-TLB Document 9        Filed 12/18/13 Page 9 of 9 PageID #: 37




 CERTIFICATE OF ATTORNEY AND NOTICE OF ELECTRONIC FILING

The undersigned certifies that:

      1.     On December 18, 2013, the foregoing document was electronically filed
with the District Court Clerk via CM/ECF filing system;

      2.    Pursuant to F.R.Civ.P. 5, the undersigned certifies that, to his best
information and belief, there are no non-CM/ECF participants in this matter.



                                                    /s/ David G. Sigale
                                                    Attorney for Plaintiffs




                                          9
